            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA,          )
                                   )
                  Plaintiff,       )
                                   )       Criminal Action No.
     v.                            )       10-00244-04-CR-W-DW
                                   )
MICHAEL STOKES,                    )
                                   )
                  Defendant.       )

           ORDER DENYING MOTION TO SEVER DEFENDANTS AND
                  GRANTING MOTION TO SEVER COUNTS

     Before the court is defendant’s motion for severance of

defendants on the grounds that (1) he will be unfairly prejudiced

if one defendant exercises his right to testify while another

invokes his Fifth Amendment right to remain silent; (2) he will

be unable to call co-defendant Edward Bagley as a witness; (3)

joinder of the defendants will confuse the jury and make it

unreasonably difficult for them to compartmentalize the evidence;

and (4) there will be a prejudicial spillover effect from the

introduction of evidence on the counts with which defendant is

not charged.   Defendant also moves to sever counts 11 and 12 from

the remaining counts because they are improperly joined.            I find

that defendant is properly joined with his co-defendants and that

he has raised no grounds which justify severing defendants but

that counts 11 and 12 are improperly joined with the remaining

counts.   Therefore, defendant’s motion to sever defendants will

be denied, and his motion to sever counts will be granted.




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I.     BACKGROUND

       On March 30, 2011, a superseding indictment was returned

charging defendant with one count of conspiracy to commit sex

trafficking by force, fraud or coercion in violation of 18 U.S.C.

§ 371 (count 1); one count of sex trafficking by force, fraud or

coercion, in violation of 18 U.S.C. §§ 1591 and 1594 (count 2);

one count of receiving child pornography, in violation of 18

U.S.C. § 2252(a)(2) (count 11); one count of possessing child

pornography, in violation of 18 U.S.C. § 2252(a)(4)(B) (count

12); and one count of using an interstate facility to facilitate

an unlawful activity, in violation of 18 U.S.C. § 1952(a) (count

13).    The indictment charges four defendants with a total of 18

counts plus one count of criminal forfeiture.

       On April 14, 2011, defendant filed a motion to sever his

trial from the trial of other defendants (document number 164) on

the grounds that (1) he will be unfairly prejudiced if one

defendant exercises his right to testify while another invokes

his Fifth Amendment right to remain silent; (2) he will be unable

to call co-defendant Edward Bagley as a witness; (3) joinder of

the defendants will confuse the jury and make it unreasonably

difficult for them to compartmentalize the evidence; and (4)

there will be a prejudicial spillover effect from the

introduction of evidence on the counts with which defendant is

not charged.     Additionally defendant argues that counts 11 and 12


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should be severed from the remaining counts as they are unrelated

and dissimilar to the remaining counts.

      On April 20, 2011, the government filed a response in

opposition to defendant’s motion for severance (document number

172) arguing that the defendants and the counts are all properly

joined.

II.   JOINDER OF COUNTS

      Rule 8, Federal Rules of Criminal Procedure, establishes the

requirements for joinder of offenses or defendants in the same

indictment.    The objective of Rule 8 is to balance the prejudice

inherent in joint trials against the interests in judicial

economy.    Whether counts are properly joined under Rule 8 is a

question of law.     United States v. Rodgers, 732 F.2d 625, 628

(8th Cir. 1984).     The propriety of joinder must appear on the

face of the indictment.        United States v. Wadena, 152 F.3d 831,

848 (8th Cir. 1998), cert. denied, 526 U.S. 1050 (1999); United

States v. Bledsoe, 674 F.2d 647, 655 (8th Cir.), cert. denied,

459 U.S. 1040 (1982).         See also United States v. Grey Bear, 863

F.2d 572, 573-578 (8th Cir. 1988) (en banc) (statement of Lay,

J.), cert. denied, 493 U.S. 1047 (1990).

      Unless all defendants are charged in all counts of the

indictment, joinder of offenses in multiple-defendant cases is




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judged by Rule 8(b)1 rather than 8(a).2      United States v.

Southwest Bus Sales, 20 F.3d 1449, 1454 (8th Cir. 1994).            This is

significant because the language of Rule 8(a) does not allow

joinder on the same basis as 8(b); the words “same or similar

character” are omitted from 8(b).      The rationale for applying

8(b) rather than 8(a) in multiple defendant cases is stated in

United States v. Jones, 880 F.2d 55, 61 (8th Cir. 1989):

     When similar but unrelated offenses are jointly charged to a
     single defendant, some prejudice almost necessarily results,
     and the same is true when several defendants are jointly
     charged with a single offense or related offenses. Rule
     8(a) permits the first sort of prejudice and Rule 8(b) the
     second. But the Rules do not permit cumulation of prejudice
     by charging several defendants with similar but unrelated
     offenses.

(citing Cupo v. United States, 359 F.2d 990 (D.C. Cir. 1966),

cert. denied, 385 U.S. 1013 (1967)).       Therefore, there are

definite limits to what the government can put together in a

single indictment.   United States v. Nicely, 922 F.2d 850, 853

(D.C. Cir. 1991).


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       Two or more defendants may be charged in the same
indictment or information if they are alleged to have
participated in the same act or transaction or in the same series
of acts or transactions constituting an offense or offenses.
Such defendants may be charged in one or more counts together or
separately and all of the defendants need not be charged in each
count.
     2
      The indictment or information may charge a defendant in
separate counts with 2 or more offenses if the offenses charged -
- whether felonies or misdemeanors or both -- are of the same or
similar character, or are based on the same act or transaction,
or are connected with or constitute parts of a common scheme or
plan.

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     To be part of the “same series of acts,” the offenses

charged must be part of one overall scheme about which all joined

defendants knew and in which they all participated.”           United

States v. Gravatt, 280 F.3d 1189, 1191 (8th Cir. 2002); United

States v. Sazenski, 833 F.2d 741, 745 (8th Cir. 1987), cert.

denied, 485 U.S. 906 (1988); United States v. Bledsoe, 674 F.2d

647, 656 (8th Cir.), cert. denied, 459 U.S. 1040 (1982).            Rule

8(b)’s language “may not be read to embrace similar or even

identical offenses, unless those offenses are related. . . .

[T]here must be a logical relationship between the acts or

transactions within the series.”       United States v. Nicely, 922

F.2d at 853 (quoting United States v. Perry, 731 F.2d 985, 990

(D. C. Cir. 1984)).    This depends upon the relatedness of the

facts underlying each offense.

     “[W]hen the facts underlying each offense are so
     closely connected that proof of such facts is necessary
     to establish each offense, joinder of defendants and
     offenses is proper.” United States v. Gentile, 495
     F.2d 626, 630 (5th Cir. 1974). When there is no
     “substantial identity of facts or participants between
     the two offenses, there is no ‘series’ of acts under
     Rule 8(b).” [United States v.] Marionneaux, 514 F.2d
     [1248,] 1249 [(5th Cir. 1975)].

United States v. Lane, 735 F.2d 799, 804 (5th Cir. 1984), rev’d

on other grounds, 474 U.S. 438 (1986).3       Generally, the test for


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       The Supreme Court held that improper joinder of defendants
does not, in itself, violate the Constitution; rather, misjoinder
arises to the level of a constitutional violation only if it
results in prejudice so great as to deny a defendant his Fifth
Amendment right to a fair trial. The Court therefore held that

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whether counts are misjoined under Rule 8(b) is whether the acts

alleged in the indictment are unified by some substantial

identity of facts or participants.         United States v. Butera, 677

F.2d 1376 (11th Cir. 1982).

     In this case, counts 11 and 12 are not alleged in the

indictment to be part of the same series of acts or transactions

as counts 1, 2 and 13.

     Count 1 of the indictment in this case charges a conspiracy

to commit sex trafficking.     Count 2 (which incorporates count 1)

charges sex trafficking.     Count 13 (which also incorporates count

1) charges use of an interstate facility to facilitate an

unlawful activity, specifically the conduct charged in counts one

and two.

     Defendant mistakenly cites Rule 8(a) in arguing that the

counts are improperly joined.     Defendant argues that:

          The applicable laws in this matter are Rules 8 and 14
     of the Federal Rules of Criminal Procedure. Rule 8(a)
     states: “The indictment or information may charge a
     defendant in separate counts with 2 or more offenses if the
     offenses charged -- whether felonies or misdemeanors or both
     -- are of the same or similar character, or are based on the
     same act or transaction, or are connected with or constitute
     parts of a common scheme or plan.”




the harmless error rule applies to improper joinder. However,
the harmless error rule does not apply at the pretrial stage.
The harmless error rule comes into use when a litigant appeals
the decision of a judge or jury, arguing that an error of law was
made at trial that resulted in an incorrect decision or verdict.


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          As related in the Facts above, the Government seeks to
     present two totally separate matters within one indictment
     against Mr. Stokes. The charges relayed in Counts One, Two,
     and Thirteen have no connection to the charges outlined in
     Counts Eleven and Twelve. The alleged victim of Counts One,
     Two, and Thirteen is not the alleged victim in Counts Eleven
     and Twelve. The ages of the alleged victims are different
     by mere virtue of the nature of the charges: Counts One,
     Two, and Thirteen involve an alleged adult female victim;
     Counts Eleven and Twelve allege offenses related to
     children. There is no reason to charge Mr. Stokes in the
     same indictment and, therefore, no reason to bring him to
     trial on these matters within one trial. These distinct
     matters should be severed into separate trials.

     The government’s entire argument with respect to the joinder

of counts reads as follows:

          [T]he child pornography which supports Counts Eleven
     and Twelve is inextricably intertwined with the related
     evidence pertaining to Counts One, Two, and Thirteen for the
     commercial sex trafficking. The defendant met Defendant E.
     Bagley on the internet on alt.com. The defendant downloaded
     and viewed images of the victim on his hard drive being
     sexually abused by Defendant E. Bagley. During these same
     time frames, and on the same computers, the defendant also
     downloaded and viewed images of other bondage pornography
     and images of child pornography. The internet history for
     these items, along with the images themselves, are mixed in
     and throughout the same collection of pornography which
     includes images of the victim, and images of bondage and
     sadism. Further, many of the images of the victim
     downloaded by Defendant Stokes depict the petite victim when
     she was just barley [sic] an adult at 18 years of age. The
     child pornography images depict minors of the same age and
     build as the victim.

          However, most importantly, the defendant fails to
     explain how he suffers any prejudice from the presentation
     of the child pornography evidence. These are not a
     codefendant’s images of child pornography, but the
     defendant’s images of child pornography seized from the
     defendant’s own hard drives. Thus, the defendant’s child
     pornography charges are also properly joined in the
     indictment.



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      The relevant counts of the indictment are set forth in

Appendix A to this order.

      Contrary to the government’s argument, a mere parallel of

facts among counts does not establish that those counts are

properly joined, or even that the evidence of one count is

“inextricably intertwined” with the evidence of another.                In any

event, the proper test for joinder is whether the counts are part

of the same series of acts or transactions as opposed to similar

offenses.

  ‘   The defendant met Defendant E. Bagley on the internet on
      alt.com. The defendant downloaded and viewed images of the
      victim on his hard drive being sexually abused by Defendant
      E. Bagley. During these same time frames, and on the same
      computers, the defendant also downloaded and viewed images
      of other bondage pornography and images of child
      pornography. The internet history for these items, along
      with the images themselves, are mixed in and throughout the
      same collection of pornography which includes images of the
      victim, and images of bondage and sadism.

      This observation is irrelevant.          Using this logic, any

offense (even making a false loan application) using this

computer would be properly joined.           Had defendant made a false

loan application from this computer during the same time frame as

the sex trafficking conspiracy and kept those false documents

mixed in with the pictures of FV on his computer, under the

government’s argument the false statement count would also be

properly joined.     The test is whether the acts alleged in the

indictment are unified by some substantial identity of facts or

participants.     Clearly they are not.       Proving that defendant

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downloaded child pornography is relevant only to counts 11 and

12.   There is nothing that the government will prove to establish

the elements of counts 11 and 12 that will also be used to prove

the elements of the remaining counts, other than perhaps that

defendant possessed a computer.       Rule 8(b) does not permit such

joinder.    I suspect that even Rule 8(a) would not permit joinder

of counts under this scenario.

  ‘   Further, many of the images of the victim downloaded by
      Defendant Stokes depict the petite victim when she was just
      [barely] an adult at 18 years of age. The child pornography
      images depict minors of the same age and build as the
      victim.

      This argument borders on absurd.        Nowhere in the law is

there any provision for someone being charged or convicted of a

child pornography offense simply because an adult victim is

petite and is “barely” an adult.         The fact that the victim of one

crime is petite and an adult teenager has no bearing on whether

it is properly joined with a count charging a crime against a

minor.   Furthermore, victims’ similar physical appearances is not

a basis for joining otherwise unrelated counts.               The same

argument could be made of a bank robbery charge if the teller

were a petite female barely 18.       This simply has no bearing on

whether charges are properly joined.

      The question here is whether counts 11 and 12 are part of

the same series of acts as the conduct in counts 1, 2 and 13.

They must be part of one overall scheme about which all joined


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defendants knew and in which they all participated.            There must

be a logical relationship between the acts or transactions within

the series -- some substantial identity of facts or participants.

     I find that there is no substantial identity of facts or

participants between counts 11 and 12 and counts 1, 2 and 13.

Therefore, there is no “series” of acts as required by Rule 8(b).

The face of the indictment establishes that the victims in the

offenses are different.     There is no indication on the face of

the indictment that any of the co-defendants knew that Stokes was

attempting to receive or that he possessed child pornography, and

receiving or possessing child pornography was not part of the

overall scheme with which all of the other defendants are

charged.   Although the extremely detailed account of the

conspiracy as outlined in count 1 includes references to

computers, those references are infrequent and use of the

computer is not a major factor in the conspiracy:

          Object of the conspiracy number 4 states that Bagley
     advertised FV over the internet as his slave.

          Object number 5 states that Bagley communicated with
     co-defendants over the internet about his use of FV as a
     slave.

          Overt act 4 states that the Bagleys used the internet
     to show adult pornography to FV.

          Overt act 13 states that the Bagleys used the internet
     to send a text message.

          Overt act 21 states that Bagley tortured FV on live web
     cam over the internet.


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            Overt act 28 states that Bagley communicated over the
       internet with co-defendants.

            Overt act 37 states that Bagley streamed live video
       over the internet and Cook watched.

            Overt act 44 states that Cook gave Bagley videos he had
       downloaded from the internet. The videos are not alleged to
       have been child pornography.

       There simply is no relation between these alleged uses of a

computer and defendant Stokes’s alleged use of his computer to

receive or possess child pornography.         Counts 11 and 12 are not

alleged to be overt acts of the conspiracy charged in count one.

They are not post-charge or post-investigation conduct calculated

to hinder prosecution or escape liability on the original

charges.    There is no overlap of evidence, and there is no

indication from the face of the indictment that any of the

evidence of counts 11 and 12 will be used to prove counts 1, 2 or

13.

       Although the government argues that defendant is not

entitled to a severance of counts because he has not established

prejudice, such a showing is not required at the pretrial stage.

Rule 8 governs the propriety of joinder; Rule 14 governs

severance which is a remedy if the defendant can establish that

he will be sufficiently prejudiced by otherwise properly joined

counts.    The Supreme Court held in United States v. Lane, 474

U.S. 438 (1986), that the harmless error rule applies to

improperly joined counts; however, the harmless error rule does


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not apply at the pretrial stage.        The harmless error rule comes

into play when a litigant appeals the decision of a judge or

jury, arguing that an error of law was made at trial that

resulted in an incorrect decision or verdict.           A trial court will

not go forward, knowingly creating error, merely because the

harmless error rule will be used should a defendant be convicted

and appeal.    If it is determined before a trial that counts are

misjoined, severance should be granted.

     Based on the above, I find that counts 11 and 12 are

improperly joined with counts 1, 2 and 13.          Therefore,

defendant’s motion to sever those two counts will be granted.

III. JOINDER OF DEFENDANTS

     Joint trials play a vital role in the criminal justice

system.   Richardson v. Marsh, 481 U.S. 200, 209 (1987).             They

promote efficiency and “serve the interests of justice by

avoiding the scandal and inequity of inconsistent verdicts.”

Id., at 210.

     Whether joinder of defendants is proper is a question of law

which is reviewed de novo.     United States v. Robaina, 39 F.3d

858, 861 (8th Cir. 1994).     Rule 8, Federal Rules of Criminal

Procedure, establishes the requirements for joinder of defendants

in the same indictment.     Whether defendants are properly joined

under Rule 8 is a question of law.         United States v. Rodgers, 732

F.2d 625, 628 (8th Cir. 1984).      The propriety of joinder must


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appear on the face of the indictment.       United States v. Wadena,

152 F.3d 831, 848 (8th Cir. 1998), cert. denied, 526 U.S. 1050

(1999); United States v. Bledsoe, 674 F.2d 647, 655 (8th Cir.),

cert. denied, 459 U.S. 1040 (1982).        See also United States v.

Grey Bear, 863 F.2d 572, 573-578 (8th Cir. 1988) (en banc)

(statement of Lay, J.), cert. denied, 493 U.S. 1047 (1990).

     For joinder of defendants under Rule 8(b) to be proper,

there must be some common activity involving all of the

defendants which embraces all the charged offenses even though

every defendant need not have participated in or be charged with

each offense.   United States v. Gravatt, 280 F.3d 1189, 1191 (8th

Cir. 2002); United States v. Sazenski, 833 F.2d 741, 745 (8th

Cir. 1987), cert. denied, 485 U.S. 906 (1988).

     Where an indictment charges all of the defendants with one

overall count of conspiracy, joinder of defendants is proper

under Rule 8.   United States v. Lane, 474 U.S. at 447.           Further-

more, the existence of a single conspiracy “lends prima facie

correctness” to joinder of the substantive counts charged as

overt acts of the conspiracy.      United States v. Andrade, 788 F.2d

521, 529 n. 7 (8th Cir. 1986).

     As the indictment in this case sets forth on its face a

single conspiracy to commit sex trafficking by force, fraud or

coercion, the defendants are properly joined for trial.




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     Once the Rule 8 requirements are met by the allegations in

the indictment, severance thereafter is controlled entirely by

Federal Rule of Criminal Procedure 14.        United States v. Lane,

474 U.S. at 447.    Rule 14 allows severance where joinder will

result in unfair prejudice to a defendant.

     The general rule is that persons charged in the same

indictment should be tried together.       Zafiro v. United States,

506 U.S. 534 (1993).    Courts have long recognized that joint

trials conserve government funds, diminish inconvenience to

witnesses and public authorities, and avoid delays in bringing

those accused of crime to trial.        United States v. Lane, 474 U.S.

at 449; Bruton v. United States, 391 U.S. 123, 134 (1968).

     Severance under Rule 14 will not be granted absent a showing

of unfair prejudice.    United States v. Lane, 474 U.S. at 447.

Severance is not required simply because a defendant might have a

better chance of acquittal in a severed proceeding.            United

States v. Blaylock, 421 F.3d 758, 766 (8th Cir. 2005); cert.

denied, 546 U.S. 1126 (2006); United States v. Vue, 13 F.3d 1206,

1210 (8th Cir. 1994); United States v. Oakie, 12 F.3d 1436, 1441

(8th Cir. 1993).    Furthermore, Rule 14 does not require severance

even if prejudice is shown; rather, it leaves the tailoring of

the relief to be granted, if any, to the district court’s sound

discretion.   Zafiro v. United States, 506 U.S. at 539.           Where

defendants are properly joined under Rule 8(b), severance should


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be granted only if there is a “serious risk that a joint trial

would compromise a specific trial right of one of the defendants,

or prevent the jury from making a reliable judgment about guilt

or innocence.”   Id.   Accord United States v. Joiner, 418 F.3d

863, 868 (8th Cir. 2005); United States v. Horne, 4 F.3d 579, 590

(8th Cir. 1993), cert. denied, 510 U.S. 1138 (1994).            Even when

the risk of prejudice is high, limiting instructions often will

suffice to cure any risk of prejudice.        Zafiro v. United States,

506 U.S. at 539; Richardson v. Marsh, 481 U.S. at 211.

     Joint trial of jointly indicted defendants is particularly

appropriate when co-defendants are charged with conspiracy.

United States v. Dijan, 37 F.3d 398, 402 (8th Cir. 1994), cert.

denied, 514 U.S. 1043 (1995); United States v. Wint, 974 F.2d 961

(8th Cir. 1992), cert. denied, 506 U.S. 1062 (1993).            Joint trial

in those cases is favored especially when proof against the

defendants is based upon the same evidence or acts.            United

States v. Agofsky, 20 F.3d 866, 871 (8th Cir.), cert. denied, 513

U.S. 909 (1994); United States v. Rodgers, 18 F.3d 1425, 1431

(8th Cir. 1994).    This will almost always be the case since all

of the evidence presented against co-defendants will also be

admissible against the moving defendant pursuant to Pinkerton v.

United States, 328 U.S. 640 (1946), which held that a member of a

conspiracy may be held responsible for a co-conspirator’s acts

and statements in furtherance of the conspiracy.


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        Bruton.   Defendant first argues that severance is required

because “statements that will be attributed to Co-defendant

Edward Bagley may contain information about Mr. Stokes.             Mr.

Stokes’ right to call Defendant Edward Bagley as a witness to

contradict those statements or cross-examine him will be

impaired; Defendant Edward Bagley retains a privilege against

self-incrimination.”

        In Bruton v. United States, 391 U.S. 123 (1968), the Supreme

Court held that the admission in a joint trial of a nontestifying

co-defendant’s confession expressly implicating the defendant

violated the defendant’s right under the Sixth Amendment to

confront the witnesses against him, even if the trial court

instructed the jury to consider the confession only against the

co-defendant who had made the statement.        In a more recent case,

however, the Court held that the Confrontation Clause is not

violated by the admission of a nontestifying co-defendant’s

confession with a proper limiting instruction when the confession

is redacted to eliminate not only the defendant’s name, but any

reference to his existence.     Richardson v. Marsh, 481 U.S. 200,

211 (1987).

        In its response, the government states that Edward Bagley

made a statement which mentions defendant Stokes by name one

time.    In the rest of his statement, Edward Bagley refers to

defendant Stokes


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     only . . . when he talks about groups of men in general,
     never explicitly stating his name. . . . Defendant E.
     Bagley’s statement already serves as a redacted statement.
     Defendant E. Bagley refers to Defendant Stokes in a grouping
     fashion, “these people” and “the others.” . . . If the
     replacement of the defendant’s name in Garcia with the term
     “someone” did not violate Bruton, then the replacement of
     Defendant Stokes’[s] name in Defendant E. Bagley’s statement
     with the terms like the “person,” “someone,” or “another
     person” likewise will not violate Bruton.

     Defendant does not identify the statement at issue; he

simply points out that a statement “may” contain information

about him.   Because the government has indicated that the

statement includes defendant’s name only one time, defendant’s

motion to sever on this basis will be denied at this time.

However, the government will be ordered to provide a copy of any

statement by a defendant which it intends to introduce at trial

that implicates defendant Stokes by name.

     Inability of defendant to call co-defendant Edward Bagley as

a witness.   Defendant argues that he should be severed because he

will be unable to call Edward Bagley as a witness.            Before such a

claim will mandate severance, it must first be shown that the co-

defendant in question is actually willing to testify at a severed

trial, and that the co-defendant’s testimony will actually be

substantially exculpatory.      United States v. Vue, 13 F.3d 1206,

1210 (8th Cir. 1994).       The Eighth Circuit has traditionally

required a detailed showing of the particulars of the proffered

testimony before requiring severance.        United States v. Jackson,

549 F.2d 517, 524-25 (8th Cir.), cert. denied, 430 U.S. 985

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(1977).   Defendant has neither indicated that Edward Bagley would

be willing to testify nor that any expected testimony would be

substantially exculpatory.     Therefore, his motion for severance

on this basis will be denied.

     Jury’s ability to compartmentalize the evidence.               Defendant

argues that he is entitled to a severance because the jury will

be confused and will be unable “to attribute individual actions

and charges as to one defendant or the other.”

     Although a joint trial may make it more difficult for a

defendant to defend himself, difficulty alone is not a reason to

reject joinder.   A showing of clear prejudice must be made.

United States v. Agofsky, 20 F.3d 866, 871 (8th Cir.), cert.

denied, 513 U.S. 909 (1994).      Whether or not prejudice occurs

depends primarily on whether the jury could compartmentalize the

evidence against each defendant.        Id.    This is a question

directed to the discretion of the trial judge and can normally be

resolved through applicable jury instructions.             United States v.

Nevils, 897 F.2d 300, 305 (8th Cir.), cert. denied, 498 U.S. 844

(1990).

     Eighth Circuit Model Criminal Jury Instruction 5.06I allows

the jury to consider acts done and statements made by co-

conspirators during and in furtherance of the conspiracy “as

evidence pertaining to the defendant even though they were done

or made in the absence of and without the knowledge of the


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defendant” if the jury finds that a conspiracy exists.            In

addition, the trial court, before submitting the case to the

jury, must find by a preponderance of the evidence that a

conspiracy exists.    United States v. Bell, 573 F.2d 1040, 1044

(8th Cir. 1978).    Therefore, if the trial court and the jury find

that a conspiracy exists, all of the evidence introduced against

co-defendants will also be admissible against defendant on the

conspiracy charge.

     Eighth Circuit Model Criminal Jury Instruction 3.08

instructs the jury to give separate consideration to the evidence

about each individual defendant.        “Each defendant is entitled to

be treated separately, and you must return a separate verdict for

each defendant.    Also keep in mind that you must consider,

separately, each crime charged against each individual defendant,

and must return a separate verdict for each of those crimes

charged.”   Therefore, if the jury does not find beyond a

reasonable doubt that a conspiracy exists, the jurors are

instructed to consider the evidence on the substantive counts

only as to those defendants charged in those counts.

     Finally, Eighth Circuit Model Criminal Jury Instruction 2.14

instructs the jury to consider evidence only in the case against

a particular defendant.     This instruction may be read to the jury

immediately before or after the introduction of evidence which is

admissible only against a particular defendant.


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     Defendant offers no support for his argument that the jury

will not be able to compartmentalize the evidence other than the

general statement that each of the defendants’ alleged actions

and omissions differ from those of the others.          This is not

persuasive.   Considering the cautionary instructions available

and the counts as charged in the indictment, I do not believe the

evidence will be so complex or muddled as to prevent the jury

from separately considering the evidence against defendant

Michael Stokes.   Almost all of the evidence admissible to prove

the substantive counts with which Stokes is not charged will be

admissible to prove the conspiracy with which he is charged.                The

only charges which are not overt acts of the conspiracy are

counts 10, 14, 15, 16, 17 and 18.

     Count 10 charges Edward Bagley with being an illegal drug

user in possession of a firearm.        However, the overt acts in

furtherance of the conspiracy include the fact that Bagley used

illegal drugs with FV and the fact that Bagley kept firearms in

order to coerce FV to comply with his demands.          Therefore, no

additional evidence will be admitted because of this count.                 The

remaining five counts are against co-defendant Bradley Cook and

involve his alleged attempt to tamper with witnesses by having

the victim and another witness killed.        The evidence to prove

those counts will no doubt be the subject of a limiting

instruction which will adequately instruct the jury to consider


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that evidence only as to Bradley Cook and not as to defendant

Stokes.

     Because almost all of the evidence to prove the counts with

which defendant is not charged would be admissible against him in

a separate trial as well, and because any possible prejudice in

this case can be resolved through applicable jury instructions,

defendant's motion for severance on the ground that the jury will

be unable to compartmentalize the evidence will be denied.

     Spillover effect.      Finally defendant argues that he will be

unduly prejudiced by the evidence of counts 3, 4, 5, 6, 7, 8, 9,

10, 14, 15, 16, 17, and 18 because he is not charged in those

counts.

     A defendant is not entitled to severance simply because the

evidence against a co-defendant may be more weighty or damaging

than the evidence against him.      United States v. Roach, 28 F.3d

729, 738 (8th Cir. 1994); United States v. Rimell, 21 F.3d 281,

289 (8th Cir.), cert. denied, 513 U.S. 976 (1994).           It is not

enough to show that evidence admissible against a co-defendant

will not be admissible against the moving defendant.            United

States v. Sparks, 949 F.2d 1023, 1027 (8th Cir. 1991), cert.

denied, 504 U.S. 927 (1992); United States v. Reeves, 674 F.2d

739, 746 (8th Cir. 1982).     Moreover, disparity in the evidence

against each of the defendants or allegations that evidence

incriminating a co-defendant will have a spillover prejudicial


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effect against the moving defendant are, alone, insufficient

grounds for severance.      United States v. O’Meara, 895 F.2d 1216,

1919 (8th Cir.), cert. denied, 498 U.S. 943 (1990).            Thus,

preference for joint trial of jointly indicted defendants is not

limited by any requirement that the quantum of evidence of each

defendant’s culpability be quantitatively or qualitatively

equivalent.    United States v. Swinney, 970 F.2d 494 (8th Cir.),

cert. denied, 506 U.S. 1011 (1992); United States v. Pecina, 956

F.2d 186 (8th Cir. 1992); United States v. Pou, 953 F.2d 363,

368-69 (8th Cir), cert. denied, 504 U.S. 926 (1992); United

States v. Stephenson, 924 F.2d 753, 761 (8th Cir.), cert. denied,

502 U.S. 813 (1991).

     In this case, defendant is charged with conspiracy to commit

sex trafficking, (count 1), sex trafficking (count 2), and using

a computer to facilitate an unlawful activity (count 13).              As

discussed above, all of the other substantive counts (with the

exception of the last five against Bradley Cook) are also charged

as overt acts of the conspiracy.        Therefore, almost all of the

evidence presented against co-defendants will also be admissible

against defendant pursuant to Pinkerton v. United States, 328

U.S. 640 (1946) (a member of a conspiracy may be held responsible

for a co-conspirator’s acts and statements in furtherance of the

conspiracy).   Limiting instructions will cure any unreasonable

prejudice from the admission of evidence of Cook’s alleged


                                   22


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attempt to have the victim and another witness murdered.

Therefore, defendant’s motion for severance on the ground that

there may be a prejudicial spillover effect will be denied.

IV.    CONCLUSION

       Based on all of the above, I find that (1) all of the

defendants are properly joined, (2) defendant has raised no

issues which would justify a severance of defendants, and (3)

counts 11 and 12 are improperly joined with the remaining counts.

Therefore, it is

       ORDERED that defendant’s motion to sever defendants is

denied.    It is further

       ORDERED that defendant’s motion to sever counts 11 and 12 is

granted.    It is further

       ORDERED that the government provide the court with copies of

all statements by co-defendants implicating defendant Stokes

which the government intends to use at trial.            Those statements

shall be provided to the court no later than June 24, 2011.                   It

is further

       ORDERED that counsel for the government and counsel for co-

defendant Stokes submit to me a proposed trial setting for the

two severed counts by May 16, 2011.




                                     23


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     Counsel are reminded that objections to this order on the

ground that it is clearly erroneous or contrary to law must be

filed and served within ten days.




                                        ROBERT E. LARSEN
                                        United States Magistrate Judge

Kansas City, Missouri
April 22, 2011




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                               APPENDIX A

The counts against defendant Stokes read as follows:

                               COUNT ONE

     A.   Introduction

          At all times relevant to this Indictment:
          1.   Defendants EDWARD BAGLEY,4 MICHAEL STOKES, and
     MARILYN BAGLEY, and Dennis Henry and James Noel were
     residents of the Western District of Missouri. Defendant
     BRADLEY COOK, was a resident of the Eastern District of
     Missouri.
          2.   Unless otherwise specified herein, Defendants
     EDWARD BAGLEY, BRADLEY COOK, MICHAEL STOKES, and MARILYN
     BAGLEY, and Dennis Henry and James Noel engaged in the
     alleged conduct herein in the Western District of Missouri.
          3.   A female born in February 1986, was the victim of
     the crimes alleged herein. Female Victim, hereafter “FV,”
     was a resident of the Western District of Missouri.

     B.   Object of the Conspiracy

          Between on or about December 2002, to and including
     February 27, 2009, within the Western District of Missouri,
     and elsewhere, Defendants EDWARD BAGLEY, BRADLEY COOK,
     MICHAEL STOKES, and MARILYN BAGLEY, and Dennis Henry and
     James Noel, and others known and unknown to the Grand Jury,
     conspired and agreed with each other to:
          (a) recruit, entice, harbor, transport, provide, and
     obtain FV and benefitted financially and by receiving
     something of value from participation in a venture which
     engaged in an act of recruiting, enticing, harboring,
     transporting, providing, and obtaining FV, knowing that
     force, fraud, and coercion, and any combination of such
     means, would be used to cause FV to engage in a commercial
     sex act; and did so in and affecting interstate commerce;
     all in violation of Title 18, United State Code, Sections
     1591(a) and (b)(1);
          (b) use a facility of interstate commerce to promote,
     establish, carry on, and facilitate the promotion,
     establishment, and carrying on, of unlawful activity; all in



     4
      The alleged nicknames have been omitted for ease of
reading.

                                    i


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 violation of Title 18, United States Code, Section
 1952(a)(3).

 C.   Manner and Means By Which the Object of the Conspiracy
      was to be Accomplished

      The object of the conspiracy was to be accomplished, in
 substance, as follows:
      1.   Defendants EDWARD BAGLEY and MARILYN BAGLEY
 recruited and enticed a minor female, FV, who[m] they
 believed suffered from mental deficiencies and came from a
 troubled childhood, into their trailer home in a wooded area
 within the Western District of Missouri.
      2.   Defendants EDWARD BAGLEY and MARILYN BAGLEY
 engaged in sexual intercourse and sexual torture activities
 with FV to groom and coerce her to become a “sex slave.”
      3.   Defendant EDWARD BAGLEY beat, whipped, flogged,
 suffocated, choked, electrocuted, caned, skewered, drowned,
 mutilated, hung, and caged FV to groom and coerce her to
 become a “sex slave.”
      4.   Defendant EDWARD BAGLEY advertised and publicized
 FV over the internet and in live web cam sessions as his
 slave who would engage in sexual acts and could be tortured
 during live online sessions, or in person.
      5.   Defendants BRADLEY COOK and MICHAEL STOKES, and
 Dennis Henry and James Noel communicated with Defendant
 EDWARD BAGLEY on the internet and the telephone regarding
 BAGLEY’s use of FV and the sexual acts he could have her
 perform for them as his slave.
      6.   Defendants BRADLEY COOK, MICHAEL STOKES and Dennis
 Henry and James Noel provided Defendant EDWARD BAGLEY with
 benefits and things of value including, but not limited to,
 cash, cigarettes, computer hard drives, sadomasochism
 videos, coats, and meat.
      7.   Defendant EDWARD BAGLEY accepted the benefits and
 things of value and coerced FV to engage in sexual acts and
 torture sessions with Defendants BRADLEY COOK, MICHAEL
 STOKES, and Dennis Henry and James Noel.
      8.   Defendants BRADLEY COOK and MICHAEL STOKES, and
 Dennis Henry and James Noel engaged in sexual acts with FV,
 including sexual torture, including, but not limited to,
 flogging, whipping, shocking, choking, piercing, skewering,
 sewing, stapling, and electrocuting.

 D.   Overt Acts

      In furtherance of the conspiracy and to accomplish the
 object of the conspiracy, Defendants EDWARD BAGLEY, BRADLEY

                               ii


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 COOK, MICHAEL STOKES, MARILYN BAGLEY, and Dennis Henry and
 James Noel, and others known and unknown to the Grand Jury,
 committed various overt acts within the Western District of
 Missouri and elsewhere, including, but not limited to the
 following:
      1.    In or about December 2002, Defendants EDWARD
 BAGLEY and MARILYN BAGLEY invited FV, a 16-year-old minor,
 who grew up in foster care homes, into their residence after
 she ran away from home and promised her “a great life,”
 including but not limited to, making her a model and a
 dancer, and making her “dreams come true.”
      2.    In or about February 2003, Defendants EDWARD
 BAGLEY and MARILYN BAGLEY gave FV her own bedroom, dresser,
 and television, and provided her with clothes and food to
 entice her to stay in their trailer home.
      3.    Between on or about December 2002, to and
 including December 6, 2004, Defendant MARILYN BAGLEY modeled
 “slave clothes” as a part of recruiting FV to become
 Defendant EDWARD BAGLEY’s slave.
      4.    Between on or about December 2002, to and
 including February 27, 2009, Defendants EDWARD BAGLEY and
 MARILYN BAGLEY used the internet and adult BDSM pornography
 to train and groom FV to become a sex slave.
      5.    Between on or about December 2002, to and
 including February 2004, Defendant EDWARD BAGLEY had sexual
 intercourse with FV while she was still a minor.
      6.    Between on or about December 2002, to and
 including February 2004, Defendants EDWARD BAGLEY and
 MARILYN BAGLEY showed FV, while she was still a minor,
 images of pornography and sadomasochism activities on the
 internet, his computer, and television.
      7.    On or about February 10, 2004, Defendant EDWARD
 BAGLEY had FV sign a “sex slavery contract” and related
 home-made documents, shortly after her 18th birthday and
 instructed FV that the contract legally bound her to him as
 his “sex slave,” with a term that “never” ended.
      8.    Between on or about February 10, 2004, to and
 including December 27, 2005, Defendant EDWARD BAGLEY sewed
 FV’s urinary opening and vagina shut to show her what was
 “expected of her.”
      9.    Between on or about February 10, 2004, to and
 including February 2005, Defendant EDWARD BAGLEY had FV
 tattooed to mark her as his property, which included a
 tattoo of:
            (1) a bar code on FV’s neck; (2) a tribal tattoo
      on her back with the letter “S” to mark her as a slave;
      and (3) the Chinese symbol for slave on her ankle.


                               iii


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      10. Between on or about December 2002, to and
 including February 27, 2009, Defendant EDWARD BAGLEY gave FV
 marijuana and ecstasy, Schedule I controlled substances.
      11. Between on or about February 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY engaged
 in oral, vaginal, and anal sex with FV.
      12. On or before August 19, 2004, Defendant MARILYN
 BAGLEY posed in photographs taken by Defendant EDWARD BAGLEY
 where she sexually tortured FV, including, but not limited
 to, full vaginal penetration with her fist.
      13. On or before June 6, 2005, Defendants EDWARD
 BAGLEY and MARILYN BAGLEY sent a text message on the
 internet stating he “whored out” FV.
      14. On or about December 9, 2006, FV called Defendant
 MARILYN BAGLEY from California and told Marilyn Bagley that
 she was afraid of Ed Bagley using the crank phone on her for
 the photo shoot. Defendant MARILYN BAGLEY indicated to FV
 she did not have a choice and not to upset Defendant EDWARD
 BAGLEY.
      15. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 performed the following sexual acts, mutilation, and
 torture, any one of which constitute an overt act,
 including, but not limited to, the following:
           a.   Defendant EDWARD BAGLEY sewed FV’s vaginal
      opening with a needle and thread.
           b.   Defendant EDWARD BAGLEY skewered through FV’s
      flesh on her pubic region, pierced FV’s vaginal opening
      and tacked open her labia.
           c.   Defendant EDWARD BAGLEY punctured through
      FV’s nipples with multiple metal needles.
           d.   Defendant EDWARD BAGLEY hooded, roped down,
      and pierced through FV’s nipples with hooks and
      stretched her breasts into the air.
           e.   Defendant EDWARD BAGLEY whipped FV’s body,
      breasts, genitalia, and anus with paddles, canes, and
      floggers.
           f.   Defendant EDWARD BAGLEY tied up FV’s breasts,
      cutting off blood flow and circulation to escalate
      sensitivity, and slapped her breasts with metal
      devices.
           g.   Defendant EDWARD BAGLEY tied up FV’s breasts,
      cutting off blood flow and circulation to escalate
      sensitivity, and pierced her breasts with needles.
           h.   Defendant EDWARD BAGLEY tied FV down, duct
      taped her mouth, and cut through her breast with a long
      metal skewer.


                               iv


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           I.   Defendant EDWARD BAGLEY gagged FV and tied
      her body and neck up with rope, cutting off oxygen.
           j.   Defendant EDWARD BAGLEY tied FV’s limbs
      behind her body and left her hanging, suspended in the
      air, or on a bench for long period’s [sic] of time.
           k.   Defendant EDWARD BAGLEY gagged FV, tied her
      limbs stretched open, and suctioned her breasts and
      vaginal labia with suction devices.
           l.   Defendant EDWARD BAGLEY chained FV’s body
      down or to the wall and blindfolded and hooded her.
           m.   Defendant EDWARD BAGLEY gagged and
      blindfolded FV naked, chained up FV, and stretched her
      limbs in opposing directions.
           n.   Defendant EDWARD BAGLEY gagged FV, tied her
      hands behind her back, and nailed FV’s nipples to slabs
      of wood.
           o.   Defendant EDWARD BAGLEY bound and tied FV
      naked to a wooden pony or wooden horse with an
      appendage inserted into her vaginal or anal opening.
           p.   Defendant EDWARD BAGLEY strapped FV down for
      hours at a time on a home-made device consisting of a
      plastic toolbox with a motor and piston inside
      connected to a metal arm with a dildo attached.
           q.   Defendant EDWARD BAGLEY locked, chained and
      hooded FV naked in a dog cage, often suspending the
      cage in the air or attaching FV’s sex organs to
      electrical devices while she was trapped in the cage.
           r.   Defendant EDWARD BAGLEY electrocuted FV with
      crank phones by generating high levels of electric
      voltage into FV through her toes, labia, nipples,
      vagina, and anus.
           s.   Defendant EDWARD BAGLEY inserted a catheter
      into FV’s urethra and clamped the cord to prevent
      urination for extended periods of time.
           t.   Defendant EDWARD BAGLEY inserted a plug into
      FV’s anus which he used to electrocute her and force
      water into her rectum.
           u.   Defendant EDWARD BAGLEY performed “water-
      boarding” on FV by forcing her head underwater or
      pouring water on her face for extended periods of time.
           v.   Defendant EDWARD BAGLEY suffocated FV to
      unconsciousness with ropes and plastic bags.
      16. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 escalated, increased, and extended the torture outlined in
 Paragraphs 15(a) - (v) above, that he executed upon FV as a
 form of punishment if FV attempted to stop the activity,


                                v


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 cried for help, or did not otherwise cooperate during the
 course of the torture.
      17. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY refused
 FV necessary medical care and provided FV animal antibiotics
 for infections and illness.
      18. Between on or about January 2004, to and including
 June 2007, Defendant MARILYN BAGLEY warned FV to “do as she
 was told” or should would see “Violent Ed.”
      19. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant MARILYN BAGLEY
 refused to offer FV assistance when FV expressed fear of
 Defendant EDWARD BAGLEY.
      20. Between on or about February 2003, to and
 including February 27, 2009, Defendants EDWARD BAGLEY and
 MARILYN BAGLEY took and held FV’s government identification
 documents, including, but not limited to, FV’s birth
 certificate and social security card.
      21. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 tortured FV on live web cam over the internet.
      22. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 threatened and exhibited his ability to kill FV by
 maintaining numerous guns in the home.
      23. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 threatened and exhibited his ability to kill FV by shooting
 animals she cared for in front of her, and bragging about
 the bodies he had already buried in the woods behind the
 trailer home.
      24. On or about February 8, 2009, Defendant EDWARD
 BAGLEY, while intoxicated, transported FV from a strip club
 with a loaded firearm in his vehicle.
      25. Between on or about October 2008, to and including
 February 27, 2009, Defendant EDWARD BAGLEY threatened to
 bury FV alive and showed her a video demonstrating how he
 intended to do it.
      26. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY ignored
 FV’s pleas to stop abusing her, would not allow her to use a
 “safe word,” or ignored her “safe word” when she attempted
 to use it during the sex/torture sessions that he performed
 with her alone, and those witnessed in and participated in
 by Defendants MICHAEL STOKES and BRADLEY COOK and Dennis
 Henry and James Noel.
      27. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY

                               vi


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 performed “abortions” on FV using specula, vacuums, and
 clothing hangers for the purpose of terminating possible
 pregnancies.
      28. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendants MICHAEL STOKES and
 BRADLEY COOK and Dennis Henry and James Noel communicated
 with Defendant EDWARD BAGLEY on the internet and/or the
 telephone regarding sexual and torture activities involving
 FV.
      29. In or about 2004, Defendant EDWARD BAGLEY invited
 Dennis Henry to his trailer residence and presented FV to
 Dennis Henry as his slave.
      30. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 provided FV to Dennis Henry to allow Dennis Henry to torture
 her, including but not limited to, allowing him to tie FV
 up, strap her to a wooden pony, and whip her with floggers
 and leather straps.
      31. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY, after
 torturing FV, would have her clean up the mess and clean the
 sexual toys and devices used on her because that was “her
 responsibility” as a slave.
      32. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant EDWARD BAGLEY
 provided FV to Dennis Henry to have him engage in oral and
 vaginal sex with her.
      33. Between on or about March 2007, to and including
 February 27, 2009, Defendant EDWARD BAGLEY provided FV to
 Dennis Henry for him to have anal sex with FV so he could
 “get her used to” having anal sex with other men.
      34. In or about December 2006, Defendant EDWARD BAGLEY
 and Dennis Henry transported FV from Missouri to California
 with the intent that FV perform sexual acts during a photo
 shoot.
      35. In or about December 2006, Defendant EDWARD BAGLEY
 accepted approximately $1,400 from Dennis Henry for FV to
 engage in sex acts during a pornographic photo shoot in
 California.
      36. In or about March 2007, Defendant EDWARD BAGLEY
 accepted an additional $500 from Defendant Dennis Henry for
 further transportation of FV from Missouri to California.
      37. Between on or about, February 10, 2004, to and
 including October 2008, Defendant BRADLEY COOK watched
 Defendant EDWARD BAGLEY stream live video over the internet
 of FV being sexually abused and tortured, including, but not
 limited to, being whipped through the bars of a cage.


                               vii


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      38. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant BRADLEY COOK
 downloaded pictures of FV distributed by Defendant EDWARD
 BAGLEY to his computer and saved them.
      39. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant BRADLEY COOK sent
 images to Defendant EDWARD BAGLEY of females in his
 residence that he beat, bound and tied up to share ideas
 with Defendant BAGLEY of how to abuse FV.
      40. Between on or about January 2006, to and
 including, October 2008, Defendant BRADLEY COOK visited
 Defendant EDWARD BAGLEY’s residence and smoked marijuana
 with Defendant EDWARD BAGLEY and FV.
      41. Between on or about January 2006, to and
 including, October 2008, Defendant BRADLEY COOK traveled to
 Defendant EDWARD BAGLEY’s residence and observed Defendant
 BAGLEY have FV perform sexual acts for Defendant COOK.
      42. Between on or about January 2006, to and
 including, October 2008, Defendant BRADLEY COOK traveled to
 Defendant EDWARD BAGLEY’s residence and had FV perform oral
 sex on him.
      43. Between on or about January 2006, to and including
 October 2008, Defendant BRADLEY COOK engaged in vaginal,
 anal, and oral sex with FV.
      44. Between on or about January 2006, to and including
 October 2008, Defendant BRADLEY COOK gave Defendant EDWARD
 BAGLEY a hard drive with sadomasochism and torture videos
 downloaded from the internet, including videos showing how
 to bury someone alive.
      45. Between on or about January 2006, to and including
 October 2008, Defendant EDWARD BAGLEY whipped FV for
 Defendant BRADLEY COOK while FV was chained up.
      46. Between on or about January 2006, to and including
 October 2008, Defendant BRADLEY COOK, sexually abused
 females in his own residence and shared those torture
 methods with Defendant EDWARD BAGLEY for him to apply to FV.
 Any one of which constitutes an overt act, including, but
 not limited to the following:
           a.    tied up FV’s breasts with rope, cutting off
      her blood flow, and then slapped the sensitized area
      with a paddle or his hand;
           b.    tied up FV and then applied wooden spring
      clothes pins to her body;
           c.    tied up FV and placed a ball gag and rings in
      her mouth;
           d.    tied up FV naked, laying [sic] down, and
      poured water on her face to “waterboard” her.
      47. Between on or about February 10, 2004, to and

                              viii


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 including February 27, 2009, Defendant MICHAEL STOKES
 traveled to Defendant EDWARD BAGLEY’s residence and engaged
 in the following acts, any one of which constitutes an overt
 act, including, but not limited to the following:
           a.   flogged and whipped FV’s body;
           b.   shocked FV’s vaginal opening with an
      electrical device;
           c.   tortured FV with a sensory deprivation
      device;
           d.   watched Defendant EDWARD BAGLEY torture FV
      with a crank phone;
           e.   watched Defendant EDWARD BAGLEY electrocute
      FV while she was confined in a dog cage.
      48. Between on or about June 2006, to and including
 February 27, 2008, Defendant MICHAEL STOKES engaged in oral
 and vaginal sex with FV.
      49. On or about 2006, Defendant MICHAEL STOKES offered
 FV to James Noel and another known person to the Grand Jury
 for sex acts and transported James Noel to Defendant EDWARD
 BAGLEY’s residence.
      50. In or about December 2006, Defendant MICHAEL
 STOKES gave Defendant EDWARD BAGLEY $1,000 to transport FV
 to California for a pornographic photo shoot where FV would
 engage in sex acts.
      51. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant MICHAEL STOKES gave
 Defendant EDWARD BAGLEY steaks, cigarettes, coats, clothing,
 lighters, and cash.
      52. In or about March 2005, Defendant MICHAEL STOKES
 gave Defendant EDWARD BAGLEY $300 to build a home-made
 device to torture FV, which was made up of a black plastic
 toolbox with a motor and piston inside connected to a metal
 arm with a dildo attached.
      53. Between on or about 2006, to and including
 February 27, 2009, Defendant EDWARD BAGLEY hooked FV to an
 electrical device that was connected to a dildo for
 Defendant MICHAEL STOKES and James Noel’s [sic] to watch.
      54. Between on or about 2006, to and including
 February 27, 2009, Defendant EDWARD BAGLEY tortured FV for
 James Noel with a crank phone, electrical devices, a violet
 wand and floggers.
      55. Between on or about December 2006, to and
 including March 2007, Defendant EDWARD BAGLEY accepted $300
 from James Noel to watch and engage in torture activities
 with FV for several hours.
      56. Between on or about February 10, 2004, to and
 including February 27, 2009, Defendant MARILYN BAGLEY
 accepted and utilized the benefits received from FV’s sexual

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 acts and dancing at the local adult entertainment clubs for
 herself, including, but not limited to, cigarettes, steaks,
 clothes, food, and cash.
      57. Between on or about June 2007, to and including
 February 27, 2009, Defendant EDWARD BAGLEY had FV work at an
 adult entertainment club as a dancer and stripper for his
 own financial benefit.
      58. On or about February 27, 2009, Defendant EDWARD
 BAGLEY suffocated and electrocuted FV during a torture
 session, which resulted in her cardiac arrest, emergency
 medical treatment, and hospitalization.

      All in violation of Title 18, United States Code,
 Section 371.

                           COUNT TWO

      The Grand Jury hereby incorporates by reference, and
 alleges herein, the factual allegations in paragraphs A
 through D of Count One of this indictment.

      Between on or about February 10, 2004, continuing
 through on or about February 27, 2009, in the Western
 District of Missouri and elsewhere, EDWARD BAGLEY, BRADLEY
 COOK, MICHAEL STOKES, and MARILYN BAGLEY, defendants herein,
 aiding and abetting one another and others, knowingly, in
 and affecting interstate and foreign commerce, recruited,
 enticed, harbored, transported, provided, and obtained by
 any means, a person, namely FV, and benefitted financially
 and by receiving something of value from participation in a
 venture engaged in recruiting, enticing, harboring,
 transporting, providing, and obtaining FV, knowing that
 force, fraud, and coercion would be used to cause FV to
 engage in a commercial sex act; and attempted to do so.
      All in violation of Title 18, United States Code,
 Sections 1591(a), 1594, and 2.

                          COUNT ELEVEN

      Between on or about December 13, 2004, continuing
 through on or about August 12, 2010, in the Western District
 of Missouri and elsewhere, MICHAEL STOKES, defendant herein,
 knowingly attempted to receive visual depictions in
 interstate commerce by means of computer and the Internet,
 and the production of the visual depictions involved the use
 of minors engaged in sexually explicit conduct, and the
 visual depictions were of such conduct.


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      All in violation of Title 18, United States Code,
 Sections 2252(a)(2) and (b)(2).

                          COUNT TWELVE

      Between on or about December 13, 2004, continuing
 through on or about August 12, 2010, in the Western District
 of Missouri and elsewhere, MICHAEL STOKES, defendant herein,
 knowingly possessed images which were transported using a
 facility of interstate and foreign commerce and the
 production of the said visual depictions involved the use of
 a minor engaged in sexually explicit conduct and the visual
 depictions were of such conduct.
      All in violation of 18 U.S.C. Section 2252(a)(4)(B).

                         COUNT THIRTEEN

      The Grand Jury hereby incorporates by reference, and
 alleges herein, the factual allegations in paragraphs A
 through D of Count One of this indictment.
      Between on or about February 10, 2004, continuing
 through on or about June 2007, in the Western District of
 Missouri and elsewhere, EDWARD BAGLEY, MARILYN BAGLEY,
 BRADLEY COOK, and MICHAEL STOKES, defendants herein, aiding
 and abetting one another and others, knowingly used a
 facility of interstate commerce with the intent to commit a
 crime of violence to further unlawful activity and otherwise
 promote, establish, carry on, and facilitate the promotion,
 establishment and carrying on, of unlawful activity, to wit:
 prostitution in violation of Mo. St. 567.020, Conspiracy to
 Commit Sex Trafficking in violation of 18 U.S.C. § 371, as
 alleged in Count One of this indictment, and Sex Trafficking
 in violation of 18 U.S.C. § 1591, as alleged in Count Two of
 this Indictment; and attempted to do so.
      All in violation of Title 18, United States Code,
 Sections 1952(a) and 2.




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